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AUCTIONS
                          BANKRUP TCY & LENDER APPROVED




                                                                     I-276




                                                                                                                   Entire/Turn-Key College Campus
                                                                                                                                                  Lender Approved Auction

                                                                                                                                       Date TBA • Poultney, VT
                                                                                                                       1 Brennan Circle, Poultney, Rutland County, VT
                                                                                                              •   155-Acre Campus
                                                                                                              •   22 Buildings
                                                                                                              •   447,000+ Sq Ft
               212-Key Full-Service Hotel                                                                     •   Green Campus
                                Former Wyndham Flag                                                           •   $5.5M Biomass System
                                                                                                                                       Verdolino & Lowey, P.C., Chief Restructuring Officer
   US Bankruptcy Court EDPA • In Re: HERMANI HOTELS, LLC • Case No. 20-10701 (AMC)

                 June 9th • Feasterville-Trevose, PA                                                                                           66,000+ Sq Ft Building
        4700 Street Rd, Feasterville-Trevose, Bucks County, PA                                                                            Stalled Construction • Substantially Complete
                                                                                                                                                                US Bankruptcy Court SDNY
                                                                                                                                                In Re: 305 East 61st Street Group LLC • Case # 19-11911-shl
• Highly Accessible to I-95, I-276, 1-295 & Route 1
• Surrounded by Thriving National Retailers                                                                                                         Date TBA • Manhattan, NY
• Attractive Amenities: 2 Restaurants, Fitness Center,                                                                                         305 East 61st St, Upper East Side, NY, NY
  Indoor Pool, Hair Salon & Business Center                                                                                                 • 14 Residential Units
• 5,200+ Sq Ft of Banquet Halls & Meeting Rooms                                                                                             • 9,000+ Sq Ft Retail
• .6 Miles to Train Station                                                                                                                 • High-End Finishes
• 20 Minutes to Philadelphia
                                                                                                                                                         Kenneth P. Silverman, Esq., Chapter 11 Trustee
   Gellert Scali Busenkell & Brown, LLC, Attorneys for the Chapter 11 Debtor & Debtor in Possession                                               SilvermanAcampora LLP, Attorneys for the Chapter 11 Trustee




   Advance
    Notice
            June 18th                                 LONG BEACH                      PORT JEFFERSON STATION                       NORTHVILLE BEACH                                 FREEPORT
        (Subject to change)                     2 BR Ocean View Co-Op                  1.5 Acre Corner Bldg/Land                   3 BR North Fork Home                   19,500 Sq Ft Residential Lot



   Advance                                                                                                                                                                        online bidding
    Notice                                                                                                                                                                        available
            June 25th
                                                                                                                                                                               DOWNLOAD OUR APP FROM
                                                      OZONE PARK                                 FLUSHING                               MANHATTAN                                  THE APP STORE
        (Subject to change)                          Mixed-Use Bldg                          1 BR Luxury Condo                     2 NYC Taxi Medallions


   516.349.7022 |                                AUCTIONS.. .Your Liquidity Solution ®                                                              | MaltzAuctions.com
         Richard B. Maltz Licensed NY Broker & Auctioneer DCA#1240836 | Bill Howze, PA # AU005050 | Tyler B. Hirchak, Licensed VT Auctioneer # 00570002420 • MSI Realty, Licensed VT Broker #0810134047
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AUCTIONS
                       BANKRUPTCY & LENDER APPROVED
                                                                                                                                                                                                             July 23rd
                                                                                                                                                                                                                  - through -

                                                                                                                                                                                                              Aug 18th
 JULY 23 • #20-310                                                           JULY 30 • #20-311                                                               JULY 30 • #20-312




              OZONE PARK, NY                                                                  LONG BEACH, NY                                                              KANDINSKY PAINTING
 3,300 SQ FT MIXED-USE CORNER BUILDING                                                     2 BR OCEAN VIEW CO-OP                                                     EARLY 20TH C. PAINTING ATTRIBUTED
    Retail Storefront & 3 Residential Apartments                                         Magnificent Boardwalk Location                                                   TO WASSILY KANDINSKY
     Bankruptcy Auction • US Bankruptcy Court EDNY                             Bankruptcy Auction • US Bankruptcy Court EDNY                                         Bankruptcy Auction • US Bankruptcy Court EDNY
   In Re: Andra's Redemption, Inc. • Case # 17-40825 (NHL)                       In Re: Ivan Mikolaenko • Case # 20-40327-(NHL)                                        In Re: Mordechay Movtady • Case # 18-76758-REG

  104-07 95th Avenue, Ozone Park                                              25 Neptune Boulevard, Unit 6T                                                  Attributed to Wassily Kandinsky
             Queens, NY                                                               Long Beach, NY                                                                (1866-1944) Russia
• 3,300 Sq Ft + Full/Finished Basement                                     • 2 BR, 2 BA & Updated Eat-in-Kitchen                                          • Composition “No. 2”
• Half Mile to 104th Street Subway                                         • Terrace with Beach & Ocean Views                                             • Oil Painting on Canvas
  Rosenberg Musso & Weiner LLP, Attorneys for the                                       Robert J. Musso, Chapter 7 Trustee                                                 Robert L. Pryor, Esq., Chapter 7 Trustee
  Chapter 11 Debtor & Debtor in Possession                                    Rosenberg Musso & Weiner LLP, Attorneys for the Trustee                                  Pryor & Mandelup, LLP, Attorneys for the Trustee


 JULY 30 • #20-313                                                          JULY 30 • #20-314                                                               AUGUST 18 • #20-315




               RIVERHEAD, NY                                                                      FREEPORT, NY                                                                       POULTNEY, VT
SINGLE FAMILY HOME – WALK TO THE BEACH                                         14,000 SQ FT WATERFRONT BUILDING                                               MAGNIFICENT 155-ACRE COLLEGE CAMPUS
    Located on Long Island’s Booming North Fork                                         20 ' Ceilings – 240' Water Frontage                                             22 Impressive Buildings – 447,000 Sq Ft

     Bankruptcy Auction • US Bankruptcy Court EDNY                             Bankruptcy Auction • US Bankruptcy Court EDNY                                                      Lender Approved Auction
      In Re: Thomas Maffetone • Case # 19-72242-REG                        In Re: Precision Steel & Hoist Systerms, Inc.• Case # 19-76013-REG

        913 Sound Shore Road                                                      371 South Main Street                                                    Green Mountain College, 1 Brennan Cir,
  Northville Beach, Riverhead, NY                                                     Freeport, NY                                                             Poultney, Rutland County, VT
• Within Desirable Northville Beach                                        • 14,000± Sq Ft Building                                                        • Environmentally Sustainable Campus
  Community                                                                • 31,700± Sq Ft Lot                                                             • $5.8MM Biomass Steam Heat System
• 3 BR, 3.5 BA + Finished Basement                                         • 17,000± Sq Ft Paved Parking Lot                                               • Appraised in 2016 for $20,000,000
             Robert L. Pryor, Chapter 7 Trustee                                          Robert L. Pryor, Chapter 7 Trustee                                • $3,000,000 Minimum Bid
      Pryor & Mandelup, LLP, Attorneys for the Trustee                            Pryor & Mandelup, LLP, Attorneys for the Trustee                                    Verdolino & Lowey, P.C., Chief Restructuring Officer

                                                                                          US Bankruptcy Court SDNY                                                                        US Bankruptcy Court EDNY



   Advance
                                                                                  In Re: 305 East 61st Street Group LLC • Case # 19-11911-shl                                  In Re: 41-23 Haight Street Realty, Inc., • Case # 19-43441 (NHL)

                                                                                          305 East 61st Street                                                                   41-09 – 41-31 Haight Street
                                                                                          Upper East Side, NY                                                                           Flushing, NY


    Notice
                                                                               • 14 Residential Units                                                                       • (10) 4,800+ Sq Ft Mixed-Use Bldgs
                                                                               • 9,000+ Sq Ft Commercial Space                                                              • 26,000+ Sq Ft Mixed-Use Bldg
                                                     66,000+ SQ FT                                                                                74,000+ SQ FT                        Gregory M. Messer, Chapter 11 Trustee
                                                    Stalled Construction              Kenneth P. Silverman, Esq., Chapter 11 Trustee              New Construction
                                                                                      Silverman Acampora LLP, Atty's for the Trustee                                           LaMonica Herbst & Maniscalco, LLP, Atty's for the Trustee



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                                           Case 8-19-72242-reg                                       Doc 48                 Filed 09/10/20                           Entered 09/10/20 13:05:01
                                                                                        ATTENTION                                    All Bankruptcy Trustees, Brokers, Builders, Developers,
                                                                                                                                     Executors, Lenders & Motivated Owners...                                     FIRST CLASS MAIL
                                                                                                                                                                                                                        TIME
                                                                                                                                                                                                                                                           FIRST-CLASS
                                                                                                                                                                                                                                                        PRST. U.S. POSTAGE
                                                                                                                                                                                                                     SENSITIVE
                                                                                               Would You Like a Definitive Date Your Property will Sell?                                                               DATED                                PAID
                                                                                                    Call Today to Consign Your Real Estate in our                                                                     MATERIAL                            GREENVILLE, SC
                                                                                                                                                                                                                                                         PERMIT No. 1460
                                                                                                           September 17th Multi-Property Event!
           39 Windsor Place, Central Islip, NY 11722
 Richard B Maltz, NY/NYC Licensed Real Estate Broker & Auctioneer
      Tyler B. Hirchak, Licensed VT Auctioneer # 00570002420
            MSI Realty, Licensed VT Broker # 0810134047




       TERMS OF SALE: Sold free and clear of all monetary liens. Please
       download the complete Terms & Conditions of Sale and/or Bidding
       Procedures. Online & absentee bidding available with registration at
       least 48 hours prior to the auction, please call for details.
       VIEWINGS: Available by appointment upon request.


                          online bidding                                         DOWNLOAD OUR APP




                          available
                 BANKRUPTCY & LENDER APPROVED AUCTIONS

                   Auction: Thursday, July 23rd at 11:00 am | Registration begins at 10:00 am
                                                 Auction Location: Maltz Auction Gallery, 39 Windsor Place, Central Islip, NY 11722
       ID#                                               DESCRIPTION                                                                                                    LOCATION                                                                  DEPOSIT
                                  3,300 Sq Ft Mixed-Use Corner Building                                                                                         104-07 95th Avenue                                                                $75,000
    #20-310                     1 Retail Storefront & 3 Residential Apartments                                                                                 Ozone Park, NY 11416                                                             Cashier’s Check

                                     Auction: Thursday, July 30th | Registration begins at 10:00 am
                                                 Auction Location: Maltz Auction Gallery, 39 Windsor Place, Central Islip, NY 11722

       ID#                                               DESCRIPTION                                                                                                    LOCATION                                                                  DEPOSIT
                                                        2 Bedroom Ocean View Co-Op                                                                     25 Neptune Boulevard, Unit 6T                                                              $35,000
    #20-311 11:00 AM                                    Magnificent Boardwalk Location                                                                     Long Beach, NY 11561                                                                 Cashier’s Check
                                                           Early 20th C. Painting                                                                                39 Windsor Place
    #20-312 11:30 AM                                                                                                                                                                                                                               25% of Bid
                                                      Attributed To Wassily Kandinsky                                                                          Central Islip, NY 11722
                                                             Single Family Home                                                                        913 Sound Shore Road                                                                       $30,000
    #20-313             12:30 PM                      Located on Long Island’s North Fork                                                      Northville Beach, Riverhead, NY 11901                                                            Cashier’s Check
                                                     14,000 Sq Ft Waterfront Building                                                                           371 South Main Street                                                             $125,000
    #20-314              1:30 PM                     20' Ceilings – 240' Water Frontage                                                                          Freeport, NY 11520                                                             Cashier’s Check


                   Auction: Monday, August 18th at 1:00 pm | Registration begins at 11:30 am
       ID#                                DESCRIPTION/LOCATION                                                                                                          LOCATION                                                                  DEPOSIT
                                    Magnificent 155-Acre College Campus                                                                  Green Mountain College, One Brennan Circle                                                               $320,000
    #20-315                         22 Impressive Buildings – 447,000 Sq Ft                                                                  Poultney, Rutland County, VT 05764                                                                 Cashier’s Check
          Plus 50-150 Bank Repossessed & Consignment Vehicles Sell Tri-Weekly in Central Islip, NY
These Assets are being sold “AS IS” “WHERE IS” “WITH ALL FAULTS” without any representations, covenants, guarantees or warranties of any kind or nature whatsoever, free and clear of any and all interests including, but not limited to, liens, claims,
encumbrances, interests, judgments and/or mortgages, or adverse claims to title, of whatever kind or nature, and subject to, among other things: (a) any state of facts that an accurate survey may show; (b) any covenants, restrictions and easements of record; (c)
any state of facts a physical inspection may show; (d) any building or zoning ordinances or other applicable municipal regulations and violations thereof; and (e) environmental conditions. By delivering their respective deposits, all prospective bidders acknowledge
that they have had the opportunity to review and inspect these Assets, the state of title thereof and laws, rules and regulations applicable thereto, and will rely solely thereon and on their own independent investigations and inspections of these Assets in making
their bids. Neither Maltz, the sellers of these Assets nor any of their collective representatives make any representations or warranties with respect to the permissible uses of these Assets including, but not limited to, the zoning of these Assets. All prospective bidders
acknowledge that they have conducted their own due diligence in connection with these Assets and are not relying on any information provided by Maltz, the sellers of these Assets or any of their collective representatives. The information contained herein was
derived from sources deemed reliable, but is not guaranteed. Most of the information provided has been obtained from third-party sources and has not been independently verified. It is the responsibility of all prospective bidders to determine the accuracy of all
components of the sales and these Assets. All prospective bidders are responsible for conducting their own independent inspections, investigations, inquiries, and due diligence concerning these Assets, including without limitation, the environmental and physical
condition of these Assets. All prospective bidders are urged to conduct their own due diligence prior to participating in the public auction. Bid rigging is illegal and suspected violations will be reported to the Department of Justice for investigation and prosecution.
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